7/7/22, 1:47 Case
             PM   2:21-cv-20706-MEF-ESK         Document
                                  Daniel Szalkiewicz            10-6
                                                     & Associates, P.C. MailFiled
                                                                             - USPS 07/07/22
                                                                                    - Click-N-Ship(R)Page
                                                                                                      Payment1Conﬁrmation
                                                                                                               of 4 PageID: 92


                                                                                                       Daniel Szalkiewicz <daniel@lawdss.com>



 USPS - Click-N-Ship(R) Payment Confirmation
 1 message

 USPS_Shipping_Services@usps.com <USPS_Shipping_Services@usps.com>                                                     Wed, Dec 29, 2021 at 6:50 AM
 To: daniel@lawdss.com


                                                             Sign in | Shipping History      | Manage Your Mail     | Customer Service



                USPS-Click-N-Ship® Payment Confirmation
                Thanks for shipping with us, DANIEL SZALKIEWICZ!

                Additional information regarding your label(s) can be found in your Shipping History. From your Shipping History you can
                Ship Again, track your package, or request a refund.



                  Click-N-Ship® Payment Details
                  Acct #: 57502249
                  Transaction Number: 552668458
                  Transaction Date/Time: 12/28/2021 09:32 AM CST
                  Transaction Amount: $15.40
                  Payment Method: AMEX-1005

                  Priority Mail® 1-Day
                  9405 5036 9930 0119 8438 49 (Sequence Number 1 of 2)
                  Scheduled Delivery Date: 12/29/2021
                  Shipped to:     BAILA SEBROW
                                  12 BEECHWOOD DR
                                  LAWRENCE NY 11559-1702

                  Priority Mail® 1-Day
                  9405 5036 9930 0119 8438 56 (Sequence Number 2 of 2)
                  Scheduled Delivery Date: 12/29/2021
                  Shipped to:     DANIEL SZALKIEWICZ
                                  23 W 73RD ST
                                  # 102
                                  NEW YORK NY 10023-3104




                Learn more about requesting a refund onlinehere.




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  Case 2:21-cv-20706-MEF-ESK Document 10-6 Filed 07/07/22 Page 2 of 4 PageID: 93




                                                                                                                                                                                                  P
                                                                                                                                       NEW YORK NY 10023-3104
                                                                                                                                       23 W 73RD ST
                                                                                                                                       STE 102
                                                                                                                                       DANIEL SZALKIEWICZ
     Electronic Rate Approved #038555749




                                                                                                                                                                                          PRIORITY MAIL 1-DAY™
                                           9405 5036 9930 0290 6672 10




                                                                                               12 BEECHWOOD DR
                                                                                               BAILA SEBROW
                                                                                               LAWRENCE NY 11559-1702




                                                                                                                                                                                                                   07/07/2022 0 lb 5 oz




                                                                                                                                                                                                                                                                                     usps.com
                                                                                                                                                                                                                                          US POSTAGE
                                                                                                                                                                                                                                          $8.70
                                                                          USPS TRACKING #




                                                                                                                                                                                                                                                   9405 5036 9930 0290 6672 10 0087 0000 0511 1559

                                                                                                                                                                                                                                                                                                     Click-N-Ship®
                                                                                                                                                                                                                   Mailed from 10023
                                                                                                                                                       Expected Delivery Date: 07/08/22
                                                                                                                         C001




                                                                                                                                                                                                                   10001000
                                                                                                                                         0020

                                                                                            Cut on dotted line.


 Instructions                                                                                                                 Click-N-Ship® Label Record
1. Each Click-N-Ship® label is unique. Labels are to be                                                                                               USPS TRACKING # :
   used as printed and used only once. DO NOT PHOTO
   COPY OR ALTER LABEL.                                                                                                                9405 5036 9930 0290 6672 10
                                                                                                                                                                                                                 Priority Mail® Postage:                                                              $8.70
                                                                                                                         Trans. #:            567090491
2. Place your label so it does not wrap around the edge of                                                               Print Date:          07/07/2022                                                         Total:                                                                               $8.70
   the package.                                                                                                          Ship Date:           07/07/2022
                                                                                                                         Expected
                                                                                                                         Delivery Date:       07/08/2022
3. Adhere your label to the package. A self-adhesive label
   is recommended. If tape or glue is used, DO NOT TAPE
   OVER BARCODE. Be sure all edges are secure.                                                                           From:       DANIEL SZALKIEWICZ
                                                                                                                                     STE 102
4. To mail your package with PC Postage®, you                                                                                        23 W 73RD ST
   may schedule a Package Pickup online, hand to                                                                                     NEW YORK NY 10023-3104
   your letter carrier, take to a Post Office™, or
   drop in a USPS collection box.
                                                                                                                            To:      BAILA SEBROW
5. Mail your package on the "Ship Date" you                                                                                          12 BEECHWOOD DR
   selected when creating this label.                                                                                                LAWRENCE NY 11559-1702




                                                                                                                        * Retail Pricing Priority Mail rates apply. There is no fee for USPS Tracking® service
                                                                                                                        on Priority Mail service with use of this electronic rate shipping label. Refunds for
                                                                                                                        unused postage paid labels can be requested online 30 days from the print date.




                                                                         Thank you for shipping with the United States Postal Service!
                    Check the status of your shipment on the USPS Tracking® page at usps.com
Case 2:21-cv-20706-MEF-ESK Document 10-6 Filed 07/07/22 Page 3 of 4 PageID: 94
7/7/22, 1:55 Case
             PM   2:21-cv-20706-MEF-ESK         Document
                                  Daniel Szalkiewicz            10-6
                                                     & Associates, P.C. MailFiled
                                                                             - USPS 07/07/22
                                                                                    - Click-N-Ship(R)Page
                                                                                                      Payment4Confirmation
                                                                                                               of 4 PageID: 95


                                                                                                          Daniel Szalkiewicz <daniel@lawdss.com>



 USPS - Click-N-Ship(R) Payment Confirmation
 1 message

 USPS_Shipping_Services@usps.com <USPS_Shipping_Services@usps.com>                                                         Mon, Feb 28, 2022 at 4:54 PM
 To: daniel@lawdss.com


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                USPS-Click-N-Ship® Payment Confirmation
                Thanks for shipping with us, DANIEL SZALKIEWICZ!

                Additional information regarding your label(s) can be found in your Shipping History. From your Shipping History you can
                Ship Again, track your package, or request a refund.



                  Click-N-Ship® Payment Details
                  Acct #: 57502249
                  Transaction Number: 557677142
                  Transaction Date/Time: 02/28/2022 03:52 PM CST
                  Transaction Amount: $5.10
                  Payment Method: AMEX-1005



                  9400 1036 9930 0029 7177 94 (Sequence Number 1 of 1)
                  Scheduled Delivery Date:
                  Shipped to:
                                ELITE LEGAL SERVICES OF NY INC.
                                1603 FRANCIS LEWIS BLVD
                                WHITESTONE NY 11357-3202




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